                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

FREEDOM SCIENTIFIC, INC,
a Delaware Corporation,

       Plaintiff,

vs.                                                        Case No. _____________________

AUMED, INC.,
a California Corporation,

and AUMED GROUP CORP.,
a Foreign corporation,

      Defendants.
_____________________________________ /

                                        COMPLAINT

       Freedom Scientific, Inc., a Delaware corporation (“Freedom Scientific”), sues

Defendants Aumed, Inc. and Aumed Group Corp. (collectively “Aumed”) and alleges as follows:

                                          PARTIES

       1.     Freedom Scientific is a Delaware corporation with a principal place of business at

11800 31st Court North, Saint Petersburg, Pinellas County, Florida 33716.

       2.     Defendant Aumed, Inc. is a California corporation with a principal place of

business at 131 Glenn Way, Unit 5, San Carlos, CA 94070.

       3.     Defendant Aumed Group Corp. is a foreign corporation with a principal place of

business in 3/F Building D No. 31, Jiaoda Dong Road, Haidian District, Beijing 100044, China.




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                                        JURISDICTION

       4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§1331 & 1338(a). Further, this Court possesses subject matter jurisdiction over this action

insofar as the matter in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs, and is between citizens of different States as provided in 28 U.S.C. §1332(a)(1).

         7.      This Court has personal jurisdiction over the Defendants pursuant to Fla. Stat.

§ 48.193(1)(a), (b) and (f) & (2). Specifically, Defendants have committed a tortious act within

the State of Florida by, inter alia, selling or offering to sell a product which infringes upon

patents held by Freedom Scientific.

         8.      Venue is properly placed in this district and division pursuant to 28 U.S.C.

§1391(b), and Local Rule 1.02(c), M.D. Fla. Local Rules.


                                        BACKGROUND

         9.      United States Design Patent No. D624,107, entitled “Hand Held Multi Position

Magnifier Camera,” was duly filed on June 5, 2009, and was issued by the U.S. Patent and

Trademark Office on September 21, 2010, naming as assignee Plaintiff, Freedom Scientific,

Inc. A true copy of the ‘107 Design Patent is attached as Exhibit A to this Complaint and

incorporated by reference.

         10.     The ‘107 Design Patent currently is, and at all relevant times in the past has

been, in full force and effect.

         11.     United States Utility Patent No. 8,264,598, entitled “Multiposition Handheld

Electronic Magnifier,” was duly filed on June 5, 2009, and was issued by the U.S. Patent and

Trademark Office on September 11, 2012, naming as assignee Plaintiff, Freedom Scientific,

Inc. A true copy of the ‘598 Utility Patent is attached as Exhibit B to this Complaint and



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incorporated by reference.

        12.      The ‘598 Utility Patent currently is, and at all relevant times in the past has

been, in full force and effect.

        13.      Based on the ‘107 Design Patent and the ‘598 Utility Patent, Freedom

Scientific developed and sells the RUBY® Handheld Video Magnifier (“RUBY”), a portable

handheld video magnifier.

        14.      To use the RUBY®, a user places it over an object, and adjusts magnification

with the zoom button. The RUBY® stays flat on the table or can be held over the reading

material with the fold-away handle. The magnified image or text appears in the display

window. Additionally, the RUBY® can be converted into a conventional magnifying glass by

flipping out the handle.

        15.      The design and use of the RUBY® is depicted in the below images:




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        16.      Defendants currently sell the “Image” handheld video magnifier (“Image”),

which is virtually identical in design and function to the RUBY®. The design and use of the

RUBY® is depicted in the below images:




        17.     Defendants have advertised, promoted, marketed, offered to sell and, upon

information and belief, sold the Image, which infringes upon the ‘107 Design Patent and the

‘598 Utility Patent.

        18.     Freedom Scientific has been damaged by Defendants’ infringing activities and

will be irreparably injured unless such infringing actions are enjoined by this Court.

        19.     Freedom Scientific has no adequate remedy at law to prevent such injury.

        20.     Given Defendants’ clear infringement of Freedom Scientific’s intellectual

property rights, Freedom Scientific will likely prevail upon the merits of this action.

        21.     The balance of the hardships and the public interest require that Defendants

immediately cease its infringing activities.

        22.     All conditions precedent to Freedom Scientific’s maintenance of this action

have occurred, have been performed, or have been excused or waived.

        23.      Freedom Scientific has retained the law firm of Gray Robinson P.A. to

vindicate its rights against Defendants, and Freedom Scientific is obligated to pay its attorneys

a reasonable attorneys’ fee for their services.




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              COUNT I- INFRINGEMENT OF U.S. DESIGN PATENT D624,107

        24.     Freedom Scientific incorporates by reference and realleges the allegations of

paragraphs 1 through 23 as though fully set forth herein.

        25.     Defendants, without authority or consent from Freedom Scientific, are directly

infringing the claim of the ‘107 Design Patent by manufacturing, distributing, offering to sell,

importing and/or selling the Image, which misappropriates or colorably imitates the design

covered by the claim in the ‘107 Design Patent.

        26.     Defendants’ handheld video magnifier would cause an ordinary person to be

deceived and/or induced into purchasing the Image supposing it to be the RUBY®.

        27.     Defendants’ infringing conduct is willful, malicious and in conscious disregard

of Freedom Scientific’s rights under the ‘107 Design Patent.

        28.     Defendants’ activities described above constitute infringement of Freedom

Scientific’s federally protected patent rights in the ‘107 Design Patent and violate 35 U.S.C. §

271.

        29.     As a result of the acts of Defendant’s infringement of the ‘107 Design Patent,

Freedom Scientific has suffered and continues to suffer damages, and Freedom Scientific is

entitled to all remedies provided by Chapter 29 of Title 35, United States Code.

        30.     Unless temporarily restrained, preliminary and permanently enjoined from

infringing the ‘107 Design Patent, Freedom Scientific will continue to suffer irreparable harm

from which it has no adequate remedy at law.




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             COUNT II- INFRINGEMENT OF U.S. UTILITY PATENT 8,264,598

         31.     Freedom Scientific incorporates by reference and realleges the allegations of

paragraphs 1 through 23 as though fully set forth herein.

         32.     Defendants, without the authority or consent from Freedom Scientific, are

directly infringing the ‘598 Utility Patent by manufacturing, distributing, offering to sell,

importing and/or selling the Image.

         33.     Defendants’ infringing conduct is willful, malicious and in conscious disregard

of Freedom Scientific’s rights under the ‘598 Utility Patent.

         34.     As a result of the acts of Defendant’s infringement of the ‘598 Utility Patent,

Freedom Scientific has suffered and continues to suffer damages, and Freedom Scientific is

entitled to all remedies provided by Chapter 29 of Title 35, United States Code.

         35.     Unless temporarily restrained, preliminary and permanently enjoined from

infringing the ‘598 Utility Patent, Freedom Scientific will continue to suffer irreparable harm

from which it has no adequate remedy at law.

        WHEREFORE, Plaintiff, Freedom Scientific, Inc. a Delaware corporation, prays for

relief as follows:

        A.      That the Court adjudge that Defendants have infringed on the ‘107 Design Patent

and ‘598 Utility Patent;

        B.      That the Court adjudge that Defendants infringement of the ‘107 Design Patent

and ‘598 Utility Patent has been willful and deliberate;

        C.      That the Court permanently enjoin Defendants from manufacturing, distributing,

offering to sell, importing and/or selling the Image;




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         D.     That the Court award Plaintiff its damages in accordance with 35 U.S.C. § 284,

and increase those damages up to three (3) times by reason of the willful and deliberate

infringement;

         E.     That the Court award Plaintiff the Defendants’ total profits realized from the

infringement of the ‘107 Design Patent in accordance with 35 U.S.C. § 289

         F.     That the Court award Plaintiff its costs in connection with this action;

         G.     That the Court declare the patent infringement claims herein to be an

“exceptional” case within the meaning of 35 U.S.C. § 285, and award Plaintiff its reasonable

attorney fees, expenses and costs in this action;

         H.     That the Court award Plaintiff such other and further relief as the Court may deem

to be just and proper.

                                  DEMAND FOR JURY TRIAL

         Freedom Scientific hereby demands a trial by jury on all issues so triable.

         Respectfully submitted this 26th day of September of 2013.

                                                        /s/Kevin P. Crosby
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